
BRISCOE, Circuit Judge,
concurring &amp; dissenting:
I concur in the majority’s conclusion that Nova has failed to demonstrate Article III standing for its claim seeking in-junctive relief. I respectfully dissent, however, from the majority’s conclusion that Nova lacks standing to pursue its claim for declaratory relief. In my view, Nova has shown that the conduct of these defendants is causally connected to Nova’s injury and, further, that our declaring § 1-740 unconstitutional would redress its injuries.
*1161To establish Article III standing, a litigant must show it has suffered an injury-in-fact, that the injury is fairly traceable to the defendant’s allegedly unlawful conduct, and that the injury is likely to be redressed by the requested relief. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). Here, as the majority correctly concludes, it is clear Nova has demonstrated an injury-in-fact (“Nova faced an imminent likelihood that it would lose some minor patients seeking abortions.” Maj. Op. at 1155.).
The majority correctly states that, to prove causation, a plaintiff must show his or her injury is “fairly traceable to the challenged action of the defendant, and not the result of the independent action of some third party not before the court.” Lujan, 504 U.S. at 560, 112 S.Ct. 2130 (emphasis added). However, the majority applies a heightened standard to determine if Nova has established causation, stating, “Article III does at least require proof of a substantial likelihood that the defendant’s conduct caused plaintiffs injury in fact.” Maj. Op. at 1156 (emphasis added). The majority concludes Nova cannot establish causation because Nova is unable to show “the required causal connection between its injury and these defendants” because “there is no evidence that defendants have done or have threatened to do anything that presents a substantial likelihood of causing Nova harm.” Id. at 14 (emphasis added). Further, the majority views Nova’s suing of state officials in their official capacities as irrelevant to the causation analysis because § 1-740 does not explicitly charge these defendants with enforcement of § 1-740. The majority reasons that, since these defendants are not responsible for enforcing § 1-740, Nova’s injuries are not fairly traceable to them.
I find no support for the majority’s conclusion that Nova must show a “substantial likelihood” that defendants’ conduct caused Nova’s injuries in this case. The reason this conclusion lacks support is apparent. In a case such as this where the plaintiff seeks pre-enforcement review of a statute’s constitutionality, it is often the case that the defendant has not enforced (or even threatened to enforce) the statute. As this court explained in Wilson v. Stocker, 819 F.2d 943, 947 (10th Cir.1987), the lack of enforcement alone does not prevent a plaintiff from proving causation.
[T]he Supreme Court has often found a case or controversy between a plaintiff challenging the constitutionality of a statute and an enforcement official who has made no attempt to prosecute the plaintiff under the law at issue. In Doe v. Bolton, 410 U.S. 179, 93 S.Ct. 739, 35 L.Ed.2d 201 (1973), the Court found a justiciable controversy between doctors subject to prosecution under criminal abortion statutes and the state attorney general, “despite the fact that the record does not disclose that any one of [the doctors] has been prosecuted, or threatened with prosecution.” ... [I]n Diamond v. Charles, 476 U.S. 54, 106 S.Ct. 1697, 90 L.Ed.2d 48 (1986), the Court stated that “the conflict between state officials empowered to enforce a law and private parties subject to prosecution under that law is a classic ‘case’ or ‘controversy’ within the meaning of Art. III.” Id.
The legal principle underlying these decisions is the familiar doctrine that “[a] suit against a state officer in his official capacity is, of course, a suit against the State.” Thus a controversy exists not because the state official is himself a source of injury, but because the official represents the state whose *1162statute is being challenged as the source of injury.
Wilson, 819 F.2d at 946-47 (internal citations omitted). To require that a plaintiff seeking to prove causation must first show that there was a substantial likelihood that defendants caused plaintiffs injury abandons this line of cases, which directly address standing in the context of declaratory judgment actions. This result forces Nova to confront the Hobson’s choice the Declaratory Judgment Act was intended to prevent: impose a parental involvement requirement that may potentially harm its patients, or face unlimited strict civil liability. See Okpalobi v. Foster, 244 F.3d 405, 435 (5th Cir.2001) (Benavides, J., concurring in part and dissenting in part).1
I also disagree with the majority’s conclusion that these defendants are somehow improper defendants because they are not directly charged with enforcement of the statute. Nova seeks declaratory relief. As the majority correctly notes, “a plaintiff challenging the constitutionality of a state statute has a sufficiently adverse legal interest to a state enforcement officer sued in his representative capacity to create a substantial controversy when ... the plaintiff shows an appreciable threat of injury flowing directly from the statute." Id. at 947 (emphasis added); see also Planned Parenthood v. Wasden, 376 F.3d 908, 919 (9th Cir.2004) (noting the fact that defendants, attorney general and county prosecutor were empowered to enforce Idaho parental consent statute was sufficient to establish causation); Planned Parenthood v. Farmer, 220 F.3d 127, 147 (3d Cir.2000) (noting because Pennsylvania’s partial birth abortion ban was “so vague as to be impervious to a readily susceptible narrowing construction, [and thus] effectuated] a ban on the conventional types of abortions,” the act by its existence presented an imminent injury which was more than fairly traceable to the state’s potential enforcement of the act). In this case, Nova claims, and the majority agrees, that the statute’s mere existence presents an “appreciable threat of injury” based on the fact minors will not obtain abortions from Nova as a result of § 1-740. Therefore, as I read Wilson, whether Nova has established its injury is causally related to these defendants sued in their official capacities turns on whether § 1-740 authorizes these defendants to sue Nova on behalf of the state — and clearly it does.
Section 1-740 provides: “Any person who performs an abortion on a minor without parental consent or knowledge shall be liable for the cost of any subsequent medical treatment such minor might require because of the abortion.” Okla. Stat. Ann. tit. 63, § 1-740. On its face, the statute creates liability for an abortion provider who performs an abortion on a minor without parental consent for any subsequent medical treatment the minor may require because of the abortion, but it places no limitations on the class of potential plaintiffs that may sue abortion providers to recover those medical expenses. Thus, unlike the statutes at issue in Hope Clinic v. Ryan, 249 F.3d 603 (7th Cir.2001) (limiting right to sue to maternal grandparents of aborted fetus), and Okpalobi v. Foster, 244 F.3d 405 (5th Cir.2001) (limiting right to sue to mother of aborted fetus), § 1-740 *1163does not provide a remedy for only private individuals. Similarly, unlike the statute at issue in Wasden (establishing civil and criminal penalties for abortion providers who perform abortions without parental consent), and Farmer (instituting civil fines for abortion providers who perform partial birth abortions), § 1-740 does not provide a remedy enforceable by only public entities. Rather, § 1-740 permits both public and private entities to file suit. Section 1-740 permits anyone who pays for “subsequent medical treatment”— whether that person or entity is the State of Oklahoma or the grandmother of an aborted fetus- — to sue an abortion provider. I read § 1-740 as authorizing any state official to sue an abortion provider on behalf of the state to recover for a minor’s subsequent medical expenses.
Here, Nova seeks declaratory relief against four state officials sued in their official capacities, each of whom is authorized by § 1-740 to sue Nova for costs the State of Oklahoma incurs on behalf of minors who obtain abortions from'Nova without parental consent. Nova decided to stop providing abortions to minors who did not have parent consent based on its fear that Oklahoma state officials, acting in their official capacities, would attempt to recover under § 1-740.2 Because Nova’s injury-in-fact is fairly traceable to its fear that these defendants might enforce the statute, I conclude Nova has sufficiently demonstrated causation vis-á-vis these defendants.
To establish redressability, a plaintiff must show it is likely that a favorable court decision will redress the injury to the plaintiff. See Lujan, 504 U.S. at 560, 112 S.Ct. 2130. Nova seeks a declaratory judgment, stating § 1-740 is unconstitutional because it is facially vague. The majority reasons that a favorable declaratory judgment will not redress Nova’s injuries because, even if we declare § 1-740 unconstitutional, that declaration is only valid against these four defendants. Therefore, the majority concludes Nova lacks standing because it is unable to obtain a'declaration as to the statute’s constitutionality against every potential party that might use § 1-740 to sue Nova. I disagree.'
A plaintiff seeking declaratory relief establishes redressability if the practical consequence of a declaration “would amount to a significant increase in the likelihood that the plaintiff would obtain relief that directly redresses the injury suffered.” Utah v. Evans, 536 U.S. 452, 464, 122 S.Ct. 2191, 153 L.Ed.2d 453 (2002); see also Franklin v. Massachusetts, 505 U.S. 788, 803, 112 S.Ct. 2767, 120 L.Ed.2d 636 (1992) (stating “we may assume it is substantially likely that the President and other executive and congressional officials would abide by an authoritative interpretation of the census statute and constitutional provision by the District Court, even though they would not be directly bound by such a determination”); Duke Power, 438 U.S. at 75 n. 20, 98 S.Ct. 2620 (“Our recent cases have required no more than a showing that there is a ‘substantial likelihood’ that the relief requested will redress the injury claimed.”). As regards the present case, we may assume future parties that would *1164sue under § 1-740 “will give full credence” to a decision by this court that the statute is unconstitutional. Roe v. Wade, 410 U.S. 113, 166, 93 S.Ct. 705, 35 L.Ed.2d 147 (1973) (refusing to address propriety of injunctive relief on basis that declaratory relief sufficiently redressed plaintiffs’ injury)-
Nova has been injured by the fact that, as a result of enactment of § 1-740, it has faced an imminent likelihood that it would lose some patients who are minors seeking abortions. The relief Nova requests is a declaration that § 1-740 is unconstitutional because it is so vague that it violates due process. If we declare § 1-740 unconstitutional, there is a substantial likelihood that the precedential value of our opinion will prevent future parties from attempting to recover under § 1-740. Nova will be able to offer abortions to minors without the fear that parties will use § 1-740 to sue Nova. Thus, the declaration Nova requests sufficiently redresses Nova’s injury by granting it a substantial basis for confidence in the legality of its conduct. See Roe, 410 U.S. at 166, 93 S.Ct. 705.
Because Nova has demonstrated an injury-in-fact, causation, and redressability, I conclude Nova has standing in its individual capacity to sue defendants Gandy, Cline, Halligan, and Boren.3 I would proceed to address defendants’ claim that they are immune from suit under the Eleventh Amendment and, if defendants were found not to be immune, to address the merits of Nova’s claim.4

. The present case and Okpalobi differ in two very important respects: the state officials sued here have the power and authority to assert claims under the challenged statute, and the Fifth Circuit in Okpalobi was addressing injunctive relief only, not declaratory relief. See 244 F.3d at 410, 425 n. 33.


. To state that Nova's response to § 1-740 was to a significant extent "self-inflicted” and an "overreaction,” Maj. Op. at 1156 - 1157, n. 7, is disingenuous. When faced with potential civil liability for post-abortion medical expenses necessitated by an abortion performed without parental consent or knowledge, Nova logically responded by requiring in-person parental consent so it could prove parental consent or knowledge when sued.


. Because I conclude Nova has standing to sue defendants in its individual capacity, I do not reach the issue of' whether Nova has third-party standing to sue on behalf of its patients. The majority's dismissal of Nova’s claims for lack of standing fails to address this asserted ground for standing.


. I share the majority's concern that some of the defendants might be improper insofar as they are not likely to enforce § 1-740. However, given the statute's unusually broad language, it is not our task to determine as part of the standing analysis whether the defendant state officials actually would enforce the act. To the extent the defendants here are unlikely to enforce § 1-740, I would address that issue as part of the Eleventh Amendment analysis.

